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                     UNITED STATES DISCTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
 ROBERT DAVIS, and SHANE                  Case No. 20-cv-12127
 ANDERS
                                          Hon. Nancy G. Edmunds
       Plaintiffs,
 vs.
 WAYNE COUNTY BOARD OF
 CANVASSERS,
       Defendants,
 and
 KYM WORTHY, in her official
 capacity
 Proposed Intervenor-Defendant.

       PROSECUTOR WORTHY’S RESPONSE IN OPPOSITION TO
             PLAINTIFFS’ MOTION FOR SANCTIONS




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      Proposed Intervenor-Defendant, Prosecutor Worthy, for her response in

opposition to Plaintiffs’ corrected motion for sanctions pursuant to 28 U.S.C. 1927

and the Court’s inherent authority, against Prosecutor Worthy and her legal counsel

states as follows.

                                 INTRODUCTION

      On September 4, 2020, Plaintiffs filed an amended complaint, one of many

amended motions. At the heart of Plaintiffs’ challenge is objection to Prosecutor

Worthy’s candidacy and her ability to appear on the August 2, 2020 primary and the

November 3, 2020 general election ballots. Prosecutor Worthy won the August 4,

2020 primary with 62% of the vote.1 Plaintiffs, in their relief requested, specifically

ask this Court to issue an injunction enjoining the Defendant Wayne County Board

of Canvassers from counting, tallying, and/or certifying any votes cast for Prosecutor

Worthy in the August 4, 2020 primary election and to issue multiple declarations,

specious and without foundation, that Prosecutor Worthy failed to comply with

certain Michigan Election Law provisions among other relief. Plaintiffs mislead this

Court and allege that their amended complaint does “not in any way impact”




1
 Wayne County Clerk’s Office, Elections Division, Elections Summary Report,
August 4th, 2020 Primary Election, Unofficial Results
https://www.waynecounty.com/elected/clerk/electionresults.



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Prosecutor Worthy. Simply put, Plaintiffs have deliberately misrepresented their

position and relief sought to this Court.

      On September18, 2020, Prosecutor Worthy filed her first amended motion, an

amended motion to intervene. Pursuant to Local Court Rule 7.1, Prosecutor

Worthy’s counsel sought concurrence before she filed her amended motion.

Plaintiffs’ counsel, as a means of oppression and deterrence, advised that they would

seek sanctions if Prosecutor Worthy filed her amended motion to intervene. (Exhibit

1). Plaintiffs filed their motion for sanctions but fail to specify any conduct that

violates Rule 11 or warrants sanctions. Plaintiffs’ motion for sanctions is mostly a

regurgitation of case law and string cites without any meaningful analysis or

application to the facts or case at bar. There is no evidence or allegations that

Prosecutor Worthy brought her motion to intervene for any improper purpose.

Conversely, it would be wholly reckless for Prosecutor Worthy not to file a motion

to intervene while Plaintiffs challenge her candidacy during an election. Plaintiffs’

contention that Prosecutor Worthy’s motion to intervene warrants sanctions is,

clearly, a frivolous motion meant to oppress, burden, and harass her and is, therefore,

sanctionable in and of itself.




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                            STANDARD OF REVIEW

      “Sanctions may be imposed under the Federal Rules of Civil Procedure for

filing frivolous lawsuits or lawsuits for an improper purpose, such as to harass or

impose needless cost on a party.” Fieger v. Cox, 524 F.3d 770, 776 (6th Cir, 2008).

District courts should usually inform the parties that the district court is considering

using its inherent authority to sanction particular conduct. First Bank of Marietta v.

Hartford Underwriters Ins. Co, 307 F3d 501, 516 (CA 6, 2002). Rule 11 of the

Federal Rules of Civil Procedure explains that by filing a pleading or motion with

the court, an attorney is certifying to the best of his or her knowledge that the

allegations and factual arguments are supported by evidence. Specifically, Federal

Rule 11 states:

             (b) Representations to the Court.

             By presenting to the court a pleading, written motion, or
             other paper — whether by signing, filing, submitting, or
             later advocating it — an attorney or unrepresented party
             certifies that to the best of the person's knowledge,
             information, and belief, formed after an inquiry reasonable
             under the circumstances:

             (1) it is not being presented for any improper purpose, such
             as to harass, cause unnecessary delay, or needlessly
             increase the cost of litigation;

             (2) the claims, defenses, and other legal contentions are
             warranted by existing law or by a nonfrivolous argument
             for extending, modifying, or reversing existing law or for
             establishing new law;


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              (3) the factual contentions have evidentiary support or, if
              specifically so identified, will likely have evidentiary
              support after a reasonable opportunity for further
              investigation or discovery . . .

              (c) Sanctions.

              (1) In General. If, after notice and a reasonable opportunity
              to respond, the court determines that Rule 11(b) has been
              violated, the court may impose an appropriate sanction on
              any attorney, law firm, or party that violated the rule or is
              responsible for the violation. Absent exceptional
              circumstances, a law firm must be held jointly responsible
              for a violation committed by its partner, associate, or
              employee.

        The statute plainly states that claims must be grounded in fact and supported

either by current law or an argument for the extension of the law. Once any of these

criteria cease to be true, counsel has an obligation “not to persist with that

contention.” (Notes of Advisory Committee on 1993 amendments to Rules,

Subdivision (a).)

                                    ARGUMENT

   I.      Plaintiffs Are Not Entitled to Sanctions Because Prosecutor Worthy’s
           Motion to Intervene is Both Warranted and Reasonable Under the
           Circumstances.

        The decision to impose sanctions under its inherent authority rests within the

court’s sound discretion, but courts are cautioned that “inherent powers must be

exercised with restraint[.]” Chambers v. NASCO, Inc., 501 U.S. 32, 50, 111 S. Ct.

2123, 115 L.Ed. 2d 27 (1991). The test for the imposition of Rule 11 sanctions,


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which Plaintiffs failed to include, is whether the attorney’s conduct was reasonable

under the circumstances. Mann v. G & G Mfg., Inc., 900 F.2d 953, 958 (6th

Cir.), cert. denied, 498 U.S. 959, 111 S.Ct. 387, 112 L.Ed.2d 398 (1990). Most

importantly, Rule 11, in rendering frivolous arguments sanctionable, uses an

objective standard, not an “empty head, pure heart” one. Nieves v. City of

Cleveland,153 Fed. Appx. 349 (6th Cir. 2005).

      Here, the motion to intervene and attorney conduct was reasonable under the

circumstances and does not warrant sanctions. Plaintiffs have serially filed dozens

of lawsuits related to the August primary and the November general election. A

number of these cases invoke the same or substantially similar claims dressed up in

slightly different causes of actions. In other words, Plaintiffs are forum shopping.

And this is, but, one of many frivolous lawsuits.

      As addressed in Prosecutor Worthy’s motion and amended motion to

intervene, Plaintiffs’ complaint and Plaintiffs’ amended complaint directly affects

Prosecutor Worthy’s candidacy in the November 3, 2020 general election.

Prosecutor Worthy is named specifically over forty times in Plaintiffs’ amended

complaint. Plaintiffs’ amended complaint asks this Court, for a “declaration that

Defendant Wayne County Board of Canvassers cannot count and/or certify any votes

cast for Kym Worthy in the August 4, 2020 primary election;” to “issue an injunction

enjoining the Defendant Wayne County Board of Canvassers from counting,


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tallying, and/or certifying any votes cast for Kym Worthy in the August 4, 2020

primary election” and to issue multiple declarations that Prosecutor Worthy failed

to comply with Michigan Election Law, and that she submitted an affidavit

containing a false statement, among other relief. Counts I and II seek relief

specifically pertaining to Prosecutor Worthy. Notably, paragraph 84 of Plaintiffs’

amended complaint states as follows:




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       Plaintiffs’ contention that Prosecutor Worthy’s motion to intervene warrants

 sanctions is, clearly, a frivolous motion meant to oppress, burden, and harass her and

 is, therefore, sanctionable in and of itself. Arguably, there is no party that has as

 much at stake in the outcome of this case than the candidate herself, Prosecutor

 Worthy who is running for re-election.
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       Pursuant to Fed. R. Civ. P. 11(c)(2), a motion for sanctions “must be made

 separately from any other motion and must describe the specific conduct that

 allegedly violates Rule 11(b).” Plaintiffs failed to comply with this most basic

 requirement and that is to specify the conduct that allegedly warrants sanctions.

 Prosecutor Worthy’s counsel sought concurrence to amend her motion to intervene

 pursuant to local court rules and, in response, Plaintiffs’ counsel threatened to file a

 motion for sanctions upon this request. Yet, Plaintiffs do not specify any conduct

 that violates Rule 11 or warrants sanctions. There is no evidence that Prosecutor

 Worthy brought her motion to intervene for any improper purpose.

       Plaintiffs’ motion for sanctions is mostly regurgitation of case law without

 any meaningful analysis or application to the facts or case at bar. Plaintiff merely

 refers to Prosecutor Worthy’s motion to intervene and fails to address her amended

 motion to intervene or any substantive justification to warrant sanctions. Fed. R.

 Civ. Pro. “15(a) declares that leave to amend shall be freely given when justice so

 requires; this mandate is to be heeded”. See generally, 3 Moore, Federal Practice (2d

 ed. 1948), 15.08, 15.10. Foman v. Davis, 371 US 178, 182; 83 S Ct 227, 230; 9 L

 Ed 2d 222 (1962). A motion to amend a pleading is, by no means, a basis for

 sanctions. As Plaintiffs note on page four of its motion for sanctions, “[s]imply

 inadvertence or negligence that frustrates the trial judge will not support a sanction

 under section 1927.” Ridder v. City of Springfield, 109 F. 3d 288, 298 (6th Cir.


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 1997); see also Red Carpet Studios Div. of Source Advantage Ltd. V. Sater, 465 F.

 3d 642, 646 (6th Cir. 2006).

    II.      Plaintiffs Failed to Follow Protocol in Seeking Sanctions.

          Additionally, in accord with the amended rule, a party seeking sanctions must

 follow a two-step process. Ridder v City of Springfield, 109 F3d 288, 294 (CA 6,

 1997). First, the party must serve motion for sanctions on the opposing party for a

 designated period (at least twenty-one days); and second file the motion with the

 court. Id.; Fed. R. Civ. P. 11(C). Critical language directs that the motion for

 sanctions is not to be filed “until at least 21 days (or such other period as the court

 may set) after being served. If, during this period, the alleged violation is corrected,

 as by withdrawing (whether formally or informally) some allegation or contention,

 the motion should not be filed with the court.” Id. The drafters correspondingly

 state:

                These provisions are intended to provide a type of “safe
                harbor” against motions under Rule 11 in that a party will
                not be subject to sanctions on the basis of another party's
                motion unless, after receiving the motion, it refuses to
                withdraw that position or to acknowledge candidly that it
                does not currently have evidence to support a specified
                allegation.... To stress the seriousness of a motion for
                sanctions and to define precisely the conduct claimed to
                violate the rule, the revision provides that the “safe
                harbor” period begins to run only upon service of the
                motion. In most cases, however, counsel should be
                expected to give informal notice to the other party.



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           Plaintiffs failed to comply with the two-step process. Specifically, Plaintiffs

 failed to “serve the Rule 11 motion on the opposing party for a designated period (at

 least twenty-one days)”. Despite this being an election law matter, some safe harbor

 period should have been heeded. Here, Plaintiff failed to serve Prosecutor Worthy

 its motion before filing it with this Court. When Prosecutor Worthy’s counsel sought

 concurrence to amend its motion to intervene, Plaintiffs’ counsel, as a means of

 oppression and deterrence, advised that they would seek sanctions if Prosecutor

 Worthy filed her amended motion to intervene. (Exhibit 2).

           Courts have the inherent authority to award fees when a party litigates in bad

 faith, vexatiously, wantonly, or for oppressive reasons. First Bank of Marietta v.

 Hartford Underwriters Ins. Co., 307 F.3d 501, 512 (6th Cir. 2002) (internal

 quotation marks omitted) (quoting Big Yank Corp. v. Liberty Mut. Fire Ins. Co., 125

 F.3d 308, 313 (6th Cir. 1997)). Here, it is clear that Plaintiffs’ motion was filed in

 bad faith and for oppressive reasons.

    III.      Plaintiffs’ Conduct is Sanctionable.

           “[T]he filing of a motion for sanctions is itself subject to the requirements of

 the rule and can lead to sanctions. However, service of a cross motion under Rule 11

 should rarely be needed since under the revision the court may award to the person

 who prevails on a motion under Rule 11—whether the movant or the target of the

 motion—reasonable expenses, including attorney's fees, incurred in presenting or


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 opposing the motion.” Fed. R. Civ. Pro. 11 Notes of Advisory Committee on Rules-

 1993 Amendment.

       Plaintiffs have flooded the courts with dozens of lawsuits, not to mention

 numerous motions, within the recent months with related and repeated claims.

 Plaintiffs insistence in going forward with these frivolous claims has needlessly

 caused undue expense and harassment to Prosecutor Worthy. The United States

 Court of Appeals for the Sixth Circuit identified Plaintiffs’ “vexatious litigation

 strategy” just last week regarding one of its many frivolous claims and determined

 the requested writ of mandamus was improper. (Exhibit 3). The Court of appeals

 opined:

             [W]e will not lightly command the district court to alter its
             schedule. Anders has not explained why this case warrants
             interference with the district court’s power, especially
             when the purported deadline, according to him, was
             several days ago on September 9. (R. 23, Motion to
             Expedite, Page ID 865.) He also does not explain why, in
             the face of the alleged emergency, he waited four days
             after knowing about his cause of action to file the motion
             for a TRO or injunction, filing just twenty-one hours
             before his claimed deadline. He then waited another three
             days after the district court denied his motion to expedite
             before asking this Court for relief. This combined total of
             seven days’ delay suggests that Anders’s claimed
             urgency is better explained by vexatious litigation
             strategy than true emergency. In addition, our review of
             the trial court’s docket and the trial court’s response
             reveals that the court has been diligent in addressing
             Anders’s numerous motions and filings and had sound
             reasons for denying the motion to expedite. Anders fails to
             cite anything supporting his right to expedited resolution;
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              instead he focuses on the merits of his case. And with
              regard to the merits, we doubt the validity of his claims.
              He asserts that Michigan law requiring a minimum
              number of votes for nomination in a primary is
              unconstitutionally vague because it does not specify the
              minimum thresholds for write-on candidates. See Mich.
              Comp. Laws § 168.582. He also claims that election
              officials denied him his rightful position on the general-
              election ballot by not completing a recount as they should
              have. But Anders cannot establish an indisputable right to
              the TRO or injunction on either of these claims…. And
              because Michigan law specifies the minimum threshold of
              votes for nomination— being the highest of the above
              three numbers—Anders is nowhere near qualifying for
              nomination with only eleven votes. So even if he were to
              succeed on his claim that the recount was done incorrectly,
              he would not be entitled to a place on the ballot. At the
              very least, this undermines his claim of entitlement to
              relief, which makes a writ of mandamus improper.

    In re Shane Anders, Case 2:20-cv-12127 (Sept. 16, 2020)(emphasis added).

       Accordingly, Prosecutor Worthy asks this Court to deny Plaintiffs’ requested

 motion for sanctions, and sanctions against Plaintiffs and Plaintiffs’ counsel.

 Moreover, this Court has the power to issue an order precluding Plaintiffs from filing

 additional lawsuits in federal court without first obtaining the approval of the Court.

 See Washington Mutual Bank FA v. McZeal, 265 Fed. Appx. 173, 176 (5th Cir. 2008)

 (“given the evidence of McZeal’s history of filing frivolous complaints, the district

 court did not abuse its discretion in ordering McZeal to obtain permission from the

 Chief Judge before bringing any more lawsuits.”); Balawajder v. Scott, 160 F.3d

 1066, 1067 (5th Cir. 1998) (holding that the district court did not abuse its discretion


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 in ordering a pro se litigant not to file additional lawsuits without prior approval of

 the court.). Considering Plaintiffs’ history and the need for Prosecutor Worthy to

 respond to this motion for sanctions, Plaintiffs should be prohibited from filing

 additional lawsuits in the U.S. District Court for the Eastern District of Michigan

 without approval from the Court, which should also include posting a bond that this

 Court deems reasonable under the circumstances.

                                   CONCLUSION

       WHEREFORE, for all the above reasons, Prosecutor Worthy respectfully

 request that this Court enter an order denying Plaintiffs’ Motion, awarding

 Prosecutor Worthy her costs and attorneys’ fees for defending this matter, and

 precluding Plaintiff from again suing in federal court with regard to their attempt to

 challenge Prosecutor Worthy for allegations that have already been determined.



                                                Respectfully Submitted,

 Date: September 25, 2020                       /s/ Angela L. Baldwin
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                               PROOF OF SERVICE

       I hereby certify that on September 25, 2020, I electronically filed the

 foregoing document using the ECF system which will send notification of such filing

 to all attorneys of record.

                                             /s/ Angela L. Baldwin
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